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                                          Manuel Valdez - ReD
                                              Page 594                                                       Page 596
 1             THE WITNESS: Maybe a couple times a week          1   Mr. Tremaine.
 2    or so.                                                     2             MR. TREMAINE: I'm going to call Corinne
 3             ALJ COOPER: For how long? For how many            3   Dominguez, Your Honor.
 4    weeks?                                                     4             ALJ COOPER: Okay.
 5             THE WITNESS: Maybe about a month or so            5             MR. TREMAINE: And I'm just finding what
 6    before I was going to leave.                               6   I was going to ask her.
 7             ALJ COOPER: And everybody already knew            7             (Phone ringing.)
 8    that you were retiring?                                    8             THE WITNESS: Hello?
 9             THE WITNESS: Yes. Oh, yes.                        9             MR. TREMAINE: Hello. Is this Corinne
10             ALJ COOPER: Okay. I don't have any               10   Dominguez?
11    further questions. Does anybody have follow-up?           11             THE WITNESS: Yes, it is.
12             MR. TREMAINE: No.                                12             MR. TREMAINE: Hello. My name is Jesse
13             MR. ROMERO: Just one quick follow-up.            13   Tremaine. I want to let you know that I am calling you
14             ALJ COOPER: Go ahead.                            14   from a recorded hearing at the State Personnel Office
15             FURTHER REDIRECT EXAMINATION                     15   and I'm going to have -- the judge is coming over to
16    BY MR. ROMERO:                                            16   talk to you now.
17       Q. Separate from that -- separate from that one        17             THE WITNESS: Okay.
18    month or so that he came in twice a week to sort of, I    18             ALJ COOPER: Hi, Ms. Dominguez. Can you
19    guess, work with you on the day shift, were there other   19   hear me?
20    times prior to that? Because I think prior to that you    20             THE WITNESS: I can.
21    said he worked the night shift?                           21             ALJ COOPER: Okay. So my name is Jessica
22       A. He worked the 3:00 --                               22   Cooper and I'm the hearing officer for the State
23       Q. Or the evening shift?                               23   Personnel Board. I'm conducting this hearing requested
24       A. He worked the 3:00 to 11:00 shift, correct.         24   by Mr. Vigil concerning the disciplinary action taken
25    The evening shift.                                        25   against him by the Department.


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 1       Q. Okay. So in the course of him working the            1            THE WITNESS: Uh-huh.
 2    evening shift and you working the day shift, would         2            ALJ COOPER: I do need to swear you in.
 3    you -- would you communicate with one another?             3   Can you raise your right hand?
 4       A. Oh, yes.                                             4            THE WITNESS: I'm raising my right hand.
 5       Q. And -- and he was -- he was aware, based from        5            ALJ COOPER: Thank you.
 6    those discussions or -- or just observing you as to        6               CORINNE DOMINGUEZ,
 7    your practices as to how you operated in doing your        7   called as a witness on behalf of the appellee, having
 8    job?                                                       8   been first duly sworn, was examined and testified
 9       A. That's correct, yes.                                 9   telephonically under oath as follows:
10       Q. Okay. Thank you.                                    10            ALJ COOPER: Thank you.
11             MR. ROMERO: I have no further questions.         11            And can you state and spell your name for
12             ALJ COOPER: Okay. I don't have any               12   the record?
13    further questions? Anybody?                               13            THE WITNESS: My name is Corinne F.
14             Okay. Mr. Valdez, thank you very much            14   Dominguez. C-o-r-i-n-n-e, F, Dominguez,
15    for your testimony.                                       15   D-o-m-i-n-g-u-e-z.
16             Is this witness released?                        16            ALJ COOPER: Thank you very much. And as
17             MR. ROMERO: Yes, Your Honor.                     17   Mr. Tremaine told you, this proceeding is being
18             MR. TREMAINE: Yes.                               18   recorded, so just keep your voice up, please, okay?
19             ALJ COOPER: Okay. Thank you very much.           19            THE WITNESS: Okay.
20             THE WITNESS: Thank you.                          20            ALJ COOPER: Thank you very much.
21             MR. ROMERO: And thank you for calling            21               DIRECT EXAMINATION
22    him out order.                                            22   BY MR. TREMAINE:
23             ALJ COOPER: Of course.                           23      Q. Good afternoon, Ms. Dominguez.
24             THE WITNESS: Thank you.                          24      A. Good afternoon.
25             ALJ COOPER: Okay. Back to you,                   25      Q. Thank you for bearing with us while we got to


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                                        Corinne Dominguez - D
                                              Page 614                                                       Page 616
 1    prior to this, that I can recall that there was            1   policy that said they had to be reviewed. I think it
 2    supposed to have been, like -- like, a safe that was       2   was annually or something like that. And then I don't
 3    somewhere in the adult psych division area where           3   know, I think after that we went to three years. But,
 4    they -- people actually walk in. But I don't know if       4   you know, I can't remember. I can't remember.
 5    that existed anymore, and that's why we decided to         5     Q. Okay. I -- one moment.
 6    change -- I can't remember. Never mind.                    6           So, Ms. Dominguez, just in terms of the big
 7       Q. Okay. So I want to make sure we got that             7   picture, you reviewed the report from Peter Schaeffer
 8    accurately. It sounds like you're saying that at some      8   and you reviewed the document that had been consulted
 9    point in your memory there was a change in the policy.     9   between BHI and HR that resulted in the Notice of Final
10       A. Yeah, there was a change.                           10   Action and you signed that, right?
11       Q. So -- and at some point, are you saying that        11     A. I probably did, yeah.
12    money could've been stored in a safe in APD?              12     Q. Okay. And so the -- you are aware that
13       A. Yeah. There was a safe there that we -- we          13   Mr. Vigil was dismissed for -- from his position for
14    were supposed to take it over there and they were         14   the -- the issues we've been discussing?
15    supposed to put it in that safe. I think it belonged      15     A. It's -- to the best of my knowledge, yeah.
16    to Financial Management.                                  16   Without having those papers in front of me, I can't
17       Q. Oh, okay. And would anybody but Financial           17   make those, you know, conclusions.
18    Management have access to that safe?                      18     Q. Oh, okay. So I'm -- I guess I should -- I
19       A. You know what? I'm not really sure about            19   need to clarify then. Are you saying you cannot
20    that.                                                     20   remember if he was dismissed or you cannot remember
21       Q. Okay.                                               21   what your judgment about the situation was at the time?
22       A. Because I'm not sure how that worked. I             22     A. Ask that question again, please.
23    can't -- I can't remember. You know, it would be kind     23     Q. Well, do you recall that Mr. Vigil was
24    of crazy if somebody else had keys to it, but I           24   dismissed?
25    (indiscernible - phone rang).                             25     A. Oh, yes. Yes.


                                              Page 615                                                       Page 617
 1       Q. Okay. And can you -- can you shed any light          1      Q. Okay. Okay. So without the papers in front
 2    on --                                                      2   of you, what is it that you were saying you could not
 3       A. It wasn't -- and just to make it clear, it           3   comment upon?
 4    wasn't my responsibility to check and make sure that       4      A. The dates, the reviews. You know, just the
 5    safe was available. It was my responsibility to write      5   policy itself.
 6    the policy and make sure staff followed it. That's all     6      Q. Okay.
 7    I can say.                                                 7      A. You know, any of the specifics of the policy.
 8       Q. Right. Right. I'm just trying to get some            8   It would be -- it's -- you know, it's been almost two
 9    clarity about the -- the timeline here with this policy    9   and a half years that I retired. I kind of put that
10    change. Are you able to give us any markers for when      10   out of my mind. That's it.
11    that would've happened?                                   11      Q. Okay. Do you recall generally what your
12       A. Not really. I would assume it would've              12   judgment of this situation was once the documents came
13    probably been around the same time. It could've been      13   to you for review?
14    the earlier. I'm not really positive.                     14      A. What my judgment was?
15       Q. So I have -- I have State's Exhibit 8, which        15      Q. Yes. Did -- you felt dismissal was
16    has been admitted. And it is called CBS Res. 118, the     16   appropriate?
17    clothing allowance policy.                                17      A. Yes.
18       A. Okay.                                               18      Q. Okay.
19       Q. And it has an effective date of January 1st,        19      A. I was following the protocol of what we needed
20    2005, and says that it has a revised date of              20   to do --
21    September 26th, 2008. Also a reviewed date of May 7th,    21      Q. Okay.
22    2014. So I just want to get a sense from you if those     22      A. -- in accordance with HR and their
23    dates make sense to you or if you would take issue with   23   consultation with me.
24    any of that.                                              24      Q. Okay.
25       A. There was a time when we had a -- we had a          25             MR. TREMAINE: I do not have any further



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                                           Corinne Dominguez -
                                               Page 638                                                      Page 640
 1               FURTHER CROSS-EXAMINATION                       1     A. I would say, yes. That's usually how it
 2    BY MR. ROMERO:                                             2   worked.
 3       Q. You're almost done, Ms. Dominguez. Just a            3     Q. Okay. That's -- that's the best of your
 4    couple questions.                                          4   memory with regard to the process?
 5       A. Okay.                                                5     A. Yes.
 6       Q. In response to Judge Cooper, you -- you              6     Q. Okay. And with regard to the -- the policies
 7    indicated that part of your basis for signing off on       7   that you -- you indicated earlier in response to Judge
 8    that letter was that you had discussed it with, I think    8   Cooper, you said you would be very disappointed that
 9    you said your boss, Ms. -- Ms. Tweed; is that correct?     9   your policies were not being followed, correct?
10       A. I probably did. You know, I -- if there's --        10     A. Absolutely.
11    probably.                                                 11     Q. If that -- if that had happened. Do you -- do
12       Q. And you indicated that the reason you did that      12   you know for a fact that -- that either Mr. Valdez or
13    is -- is you were aware that she was familiar or had      13   Mr. Vigil had been specifically trained on -- on -- and
14    worked on the investigation?                              14   were aware of these particular policies, the --
15       A. That would be the reason I would be talking to      15     A. Oh, yes.
16    her about it. I think she was -- at that time, she was    16     Q. -- the policy regarding unusable products and
17    either our boss or Troy Jones was out of -- out of the    17   the clothing allowance policy?
18    state, or if she was in charge. That's all I can          18     A. Absolutely. If we had any changes, we'd --
19    remember.                                                 19   Cathy would've probably met with them or I would've.
20       Q. And if I understood your -- your -- if I            20     Q. Okay.
21    understood your answer correctly earlier, you said that   21     A. I don't remember.
22    that letter was not actually written by you, although     22     Q. Are you aware or do you know whether there's
23    you signed it.                                            23   any documentation confirming their acknowledgement
24       A. They let me look at it and they -- you know,        24   or -- or your confirmation of having trained them on
25    and I looked at it and, you know, I might have changed    25   these specific policies?


                                               Page 639                                                      Page 641
 1    a couple words, but nothing big, because I wasn't the      1      A. No.
 2    final -- the final say on that letter. As a matter of      2      Q. Okay.
 3    fact, it's my understanding that even our HR wasn't the    3             MR. ROMERO: All right, ma'am. Thank
 4    final say, that it was actually an attorney out of the     4   you.
 5    Department of Health.                                      5             Now --
 6       Q. Okay. Well, but the letter itself you                6             MR. TREMAINE: No redirect.
 7    indicated earlier you believed was -- was written, you     7             MR. ROMERO: -- Judge, do we --
 8    know, as sort of a joint project between HR and            8             Hold -- hold on. I'm not sure if anyone
 9    Ms. Tweed.                                                 9   else is going to ask you any final questions.
10       A. Probably, yes.                                      10             THE WITNESS: Okay.
11       Q. Okay.                                               11             ALJ COOPER: Thank you very much,
12               MR. ROMERO: That's all I have. Thank           12   Ms. Dominguez. Nobody has any further questions for
13    you.                                                      13   you.
14               THE WITNESS: Put a letter together, but        14             This witness is --
15    I wasn't investigating myself. It would've been too       15             THE WITNESS: Okay.
16    difficult.                                                16             ALJ COOPER: -- released?
17    BY MR. ROMERO:                                            17             MR. ROMERO: Yes.
18       Q. Correct. Because you weren't -- you weren't         18             ALJ COOPER: Thank you so much.
19    intricately involved in the investigation?                19             THE WITNESS: Thank you, guys.
20       A. No.                                                 20             ALJ COOPER: Have a good day.
21       Q. Okay. And then once it was written by your          21             THE WITNESS: You, too. Bye.
22    local HR and/or Ms. Tweed, it would've then gotten sent   22             MR. ROMERO: Your Honor, could we take a
23    to the -- the -- I guess the legal people, when you       23   break?
24    said the attorneys would've been sort of the last scrub   24             ALJ COOPER: Sure. Let's take five.
25    on it?                                                    25             (Off the record.)


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